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                                      UNITED       STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                                wwwflsb.iiscourts.gQy

                                                         rw AFTER 13 PLAN Ondividual Adjustment of Debts)

                                □                                                Original Plan

                                g SECOND                                         Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                □                                                Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
                                                                    JOINT DEBTOR:
                                                                                                                           CASE NO.: 24-11359-RAM
     DEBTOR: Hector Acosta Abreus
                                                                     SS#: xxx-xx-
     SS#: xxx-xx- 5879
     I.

                  To Debtors:             Plans that do not comply with local rules and judicial rulings may not be confirmable.    amended p ans and
                                          modified plans shall L served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                          Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                          the chapter 13 petition or within 30 days of entry ofthe order converting the case to chapter 13.
                  To Creditors:           Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                          be reduced, modified or eliminated.
                  To All Parties:      The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                          on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III, which may result in a                                  □   Included         g Not included
          partial payment or no payment at all to the secured creditor
          Avoidance of a Judicial lien or nonpossessory, nonpurchase-money security interest, set                          □   Included         g Not included
          out in Section III
                                                                                                                           g   Included         □ Not included
      Nonstandard provisions, set out in Section IX
    II.     PLAN payments. LENGTH OF PLAN AND DEBTORfSV ATTORNEY'S FEE
                         monthly plan PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees   of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

                         1.     $150.78                for months     I     to 36         ;

                 B. DEBTORfSV ATTORNEY’S FEE;                                                    □ NONE        □ PRO BONO
                                                              Total Paid:                     $1,625.00         Balance Due:        $3,575.00
              Total Fees:                 $5,200.00

              Payable _             $117.31            /month (Months       1    to 30 )

              Payable _        $55.70         /month (Months 21_           )
              Allowed fees under LR 2016-1(B)(2) are itemized below:
              Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                              g NONE
    IV.          TREATMENT OF FEES AND PRIORITY CLAIMS las defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                   □ NONE
                 A. ADMINISTRATIVE FEES OTHER THAN DEBTORSfSV ATTORNEY’S FEE; g NONE
                 B. INTERNAL REVENUE SERVICE; □ NONE
                        Total Due:                $332.85                 Total Payment                   $332.85

                        Payable:              $18.39         /month (Months           1        to 36 )



                 C.                                                             l: g NONE
                 D. OTHER: g NONE



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                                                                             Dcbtoi (s): Hector Acosta Abreos

V.           TREATMENT OF UNSFrilRED NQNPRIORITY CREDITORS                                          □ NONE

                A. Pay                 S61.61     /month (Months     31     to 31   )

                      Pay              SI 17.31   /month (Months     32     to 36 )

                      Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
                                                                               100% to all allowed unsecured nonpriority claims.
                B.    □ if checked, the Debtor(s) will amend/modify to pay
                C. SF.PARATEt.V CLASSIFIED:                   @ NONE
VI.          ■STUDENT I.OAN PROGRAM                     [S] NONE
VII.         FVF.rUTORV rONTRAOTS AND IJNEXPIRED LEASES                                      Q '^ONE
                                                                                                                 distribution from the Chapter 13 Trustee.
      Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a
                     [SI Unless provided for under a separate section, the debtor(s) request that upon connrination of this plan, the automatic st.y be
                            terminated in rem as to the debtor(s) and in rem and in personam as to any       codebtor(s) as to these creditors/lessors. Nothing
                            herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                                                            Collateral                               Acct.No. (La.st4 Digits! Assume/Reject
                   Name of Creditor
                                                            1827 SW 131 ST PLACE CT,                 5879
                     HECTOR FERRAN ROBAINA
                                                                                                                               [i] Assume        Reject
                                                            Miami FL 33175

VIII.        INCOME TAX RETURNS AND REFUNDS:

                     [■] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.          NON-STANDARD PLAN PROVISIONS □ NONE
            p] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                     Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void,
                  Confirmation o f the plan shall not bar Debtor's counsel from filing          an Application for Compensation for any work performed
                  before confirmation.
            Q Mortgage Modification Mediation

                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

     I declare that the foregoing chapter 13 plan is true and correct under penally of peijuiy.

                                                                                                                          Joint Debtor
                                                  Debtor
                                                                                                                                                 Date
                                                            7      'Date
 Heofor Acosta Abreus




 /s/ Jose A. Blanco, Esq.
                                                                  Date
      Attorney with permission to sign on
      Debtor(s)' behalf who certifies that
      the contents of the plan have been
         reviewed and approved by the
                                       1
                          Dcbtor(s),

                 is document, the Attorney for Debtor(s) or Debtor(s),
     By filing this                                                                      if not represented by counsel, certifies that the wording and
                                                                          identical to those contained in Local Form Chapter 13 Plan and the plan
     order of the provisions in this Chapter 13 plan               are


     contains no nonstandard provisions other than those set out in paragraph IX.




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                                                               Debtor(s): HccLorAcosia Abreus




’This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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